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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION
 ______________________________________________________________________________

 ROWVAUGHN WELLS, individually and )
 as Administratrix Ad Litem of the Estate of )
 TYRE DEANDRE NICHOLS, deceased,             )
                                             )
         Plaintiff,                          )
                                             )
 v.                                          )   No. 2:23-cv-02224-MSN-atc
                                             )
 THE CITY OF MEMPHIS, a municipality, )
 et al.,                                     )
                                             )
         Defendants.                         )
 ______________________________________________________________________________

                   ORDER APPOINTING GUARDIAN AD LITEM
 ______________________________________________________________________________

        On August 2, 2024, the Court granted Defendant City of Memphis’s motion for the

 appointment of a guardian ad litem for the minor child of Tyre Nichols (“Minor Child”). (ECF

 No. 202.) The Court ordered the parties to consult and identify any agreed-upon candidates. (Id.

 at 8.) On September 13, 2024, the parties filed a joint notice identifying Chasity Sharp Grice as

 their agreed-upon candidate. (ECF No. 209.) Based on the parties’ submissions, the Court finds

 Ms. Grice qualified to serve as guardian ad litem for Minor Child and appoints her as such for

 the duration of this litigation pursuant to Federal Rule of Civil Procedure 17.

          The Clerk is directed to add Ms. Grice’s name to the docket in this matter as guardian ad

 litem for Minor Child. The parties are directed to provide a copy of this Order to Ms. Grice.

        SO ORDERED this 16th day of September, 2024.

                                               s/Annie T. Christoff
                                               ANNIE T. CHRISTOFF
                                               UNITED STATES MAGISTRATE JUDGE
